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FORM 32. Response to Notice to Advise of Scheduling Conflicts                              Form 32
                                                                                         March 2023


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT
                                            (AMENDED)
    RESPONSE TO NOTICE TO ADVISE OF SCHEDULING CONFLICTS

          Case Number: 23-2241

  Short Case Caption: Teva Branded Pharmaceutical Products R&D, Inc. v. Cipla Ltd.

         Party Name(s): Cipla Ltd.

INFORMATION: The court uses this form to determine whether and when to
schedule cases for oral argument. Arguing counsel may be changed later, but a
motion to reschedule is required once the court schedules argument. Please plan in
advance to adhere to the limit on the number of arguing counsel in Fed. Cir. R. 34(e).

 Argument Waiver               ☐ My party intends to waive oral argument.
 NOTE: Filers checking this box must still complete the below sections. The court
 may still schedule this case for oral argument even if any party intends to
 waive argument. If scheduled, parties may still elect to waive argument using
 the response to notice of oral argument form.
 Other Parties Representing Interests
 ☐ Counsel for another party will represent my party’s interests at oral argument
 NOTE: If this box is checked, skip the remaining sections. Any argument date will
 be selected based on conflict dates for counsel arguing on behalf of your party.
 Name of Expected Arguing Counsel Anil H. Patel
 Dates Unavailable
 Do you have dates of unavailability within the specific sessions identified by the
 court’s Notice to Advise of Scheduling Conflicts in your case?
 ☐ Yes               ☐ No
                      ✔




 If yes, attach a separate sheet listing up to ten dates of unavailability and
 include a statement showing good cause for each date. Dates without good
 cause or that do not pertain to arguing counsel (e.g., client conflicts) will not be
 accepted. The court will only accept dates for one counsel and only if that counsel
 has filed an entry of appearance. The Clerk’s Office will evaluate and note accepted
 or rejected conflict dates; counsel may contact the Clerk’s Office about re-filing if
 dates are rejected. See Fed. Cir. R. 34(d); Practice Notes to Rule 34.
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 Potential Case Conflicts
 Are there other pending cases before this court (regardless of case status) in which
 expected arguing counsel in this case also expects to argue?
 ☐ Yes               ☐ No
                      ✔




 If yes, attach a separate sheet listing those cases.

I certify the above information and any attached statement is complete and
accurate. I further certify that I will update my notice should new conflicts arise
or existing conflicts change.

        10/01/2024
  Date: _________________                         Signature:     /s/ Anil H. Patel

                                                  Name:          Anil H. Patel
